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                               No. 24-50180

      In the United States Court of Appeals
              for the Fifth Circuit
NATIONAL INFUSION CENTER ASSOCIATION, on behalf of itself and
 its members; GLOBAL COLON CANCER ASSOCIATION, on behalf of
     itself and its members; PHARMACEUTICAL RESEARCH AND
MANUFACTURERS OF AMERICA, on behalf of itself and its members,
                                        Plaintiffs-Appellants,
                                     v.
 XAVIER BECERRA, Secretary, U.S. Department of Health and Human
    Services; UNITED STATES DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; CHIQUITA BROOKS-LASURE, in her official
    capacity as Administrator of the Centers for Medicare and Medicaid
 Services; CENTERS FOR MEDICARE AND MEDICAID SERVICES,
                                        Defendants-Appellees,

 On Appeal from the U.S. District Court for the Western District of Texas
                No. 1:23-cv-707 (Hon. David Alan Ezra)
                  APPELLANTS’ OPENING BRIEF
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              CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fifth Circuit Rule 28.2.1, undersigned counsel certifies that

the following listed persons and entities as described in the fourth sentence of

Rule 28.2.1 have an interest in the outcome of these appeals. These

representations are made in order that the judges of this Court may evaluate

possible disqualification or recusal.

      1.    Plaintiff-Appellant the National Infusion Center Association

(NICA). NICA does not have a parent corporation, and no publicly held

corporation owns 10% or more of its stock. The following attorneys have

represented NICA in this case:

            Tim Cleveland, Austin Krist, Ibituroko-Emi Lawson, McKenzie
            Edwards and Gerard Bifulco of Cleveland Krist LLC.

      2.    Plaintiff-Appellant the Global Colon Cancer Association

(GCCA). GCCA does not have a parent corporation, and no publicly held

corporation owns 10% or more of its stock. The following attorneys have

represented GCCA in this case:

            Michael Kolber and Megan Thibert-Ind of Manatt, Phelps &
            Phillips LLP.

      3.    Plaintiff-Appellant         Pharmaceutical           Research       and

Manufacturers of America (PhRMA). PhRMA does not have a parent



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corporation, and no publicly held corporation owns 10% or more of its stock.

The following attorneys have represented PhRMA in this case:

           Jeffrey Handwerker, John Elwood, Allon Kedem, William Perdue,
           and Allissa Pollard of Arnold & Porter Kaye Scholer LLP.

     4.    Defendant-Appellees Xavier Becerra, the U.S. Department of

Health and Human Services, Chiquita Brooks-LaSure, and the Centers

for Medicare and Medicaid Services. The following attorneys have

represented the government in this case:

           Brian M. Boynton, Jaime Esparza, Michelle R. Bennett, Stephen
           M. Pezzi, Christine L. Coogle, and Alexander V. Sverdlov.




Dated: April 12, 2024                        /s/ John P. Elwood
                                             John P. Elwood

                                             Counsel for Appellant
                                             Pharmaceutical Research and
                                             Manufacturers of America




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              STATEMENT REGARDING ORAL ARGUMENT

        Appellants requested oral argument as part of their motion to expedite

this appeal. The Court granted the motion and set oral argument for May 1,

2024.




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                               INTRODUCTION

      Plaintiffs   bring    three   facial     constitutional   challenges        to   an

unprecedented program of government price-setting enacted as part of the

Inflation Reduction Act of 2022 (IRA). This novel scheme imposes

government-dictated prices on sales of innovative medicines between private

parties involved in Medicare. As a direct price-regulation scheme, the IRA’s

drug pricing program is unlike the traditional Medicare reimbursement

program, and Congress expressly codified this new program outside the

Medicare statute. But the district court dismissed Plaintiffs’ claims without

reaching the merits, holding that their suit bringing facial constitutional

challenges to provisions outside the Medicare statute constitutes an “action …

to recover on a[] claim arising under” the Medicare statute. The district court

thus concluded that Plaintiffs’ claims must be channeled through an

administrative process designed to evaluate requests for reimbursement. This

Court should correct that erroneous decision so that this case can proceed to

the merits.

      The IRA ended decades of a market-based system for reimbursing

prescription drugs in favor of government price-setting. The statute’s so-

called “Drug Price Negotiation Program” (Drug Pricing Program or



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Program) mandates sham “negotiations” whereby the government imposes a

“maximum fair price” for certain selected drugs—some of the most innovative

and widely used. Contrary to its name, the Program involves no genuine

“negotiation.” Instead, it compels manufacturers to accept prices that the

Centers for Medicare and Medicaid Services (CMS), a sub-agency of the

Department of Health and Human Services (HHS), unilaterally chooses.

There is no statutory standard to govern the agency’s price-setting decision,

no procedures to ensure public accountability and to protect against arbitrary

or confiscatory prices, and no judicial review to ensure that the agency acts

within the bounds of law. The statute establishes a ceiling that the price may

not exceed, while affording the agency complete discretion to choose as low a

price as it wants: The agency could decide that an innovative, lifesaving

medicine that cost billions to develop is worth just $1 per dose. And

manufacturers must either accept these government-imposed prices or face

draconian, crippling penalties. Left in place, this new regime will stall

innovation, reduce the availability of new medicines, and undermine public

health—causing grave harm to patients, manufacturers, and healthcare

providers.




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      Well before these “negotiations” began, the National Infusion Center

Association (NICA), the Global Colon Cancer Association (GCCA), and

Pharmaceutical Research and Manufacturers of America (PhRMA) filed this

lawsuit, alleging that the Drug Pricing Program contravenes the separation of

powers and nondelegation doctrine, the Eighth Amendment’s Excessive Fines

Clause, and the Fifth Amendment’s Due Process Clause. The government

moved to dismiss for lack of jurisdiction and improper venue, arguing that

NICA—which resides in the relevant district—lacks Article III standing and

failed to present its claims to the agency and thereby exhaust administrative

remedies. The district court agreed with the government’s exhaustion

argument based on 42 U.S.C. §§ 405(h) and 1395ii, which require

reimbursement claims for benefits under Medicare to be channeled through

HHS and CMS before being brought in federal court.

      The district court’s ruling flies in the face of the statutory text. As

incorporated into the Medicare statute, § 405(h) provides that “[n]o action …

shall be brought … to recover on any claim arising under this subchapter”—

that is, subchapter XVIII of chapter 7 of title 42 (also known as Title XVIII of

the Social Security Act), which governs Medicare reimbursement. The relevant

provisions of the IRA, however, are codified in subchapter XI of chapter 7, not



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subchapter XVIII. Accordingly, under the Supreme Court’s and this Circuit’s

caselaw, “the Medicare Act provides” neither “the substance [nor] the standing

for [Plaintiffs’] claim[s],” Heckler v. Ringer, 466 U.S. 602, 620 (1984), and those

claims are not “inextricably intertwined with a claim for Medicare benefits,”

RenCare, Ltd. v. Humana Health Plan of Texas, Inc., 395 F.3d 555, 557

(5th Cir. 2004) (cleaned up). Plaintiffs challenge the constitutionality of

provisions outside the Medicare subchapter and do not seek “to recover on any

claim arising under” that statute.

      In holding otherwise, the district court expanded the statutory text to

encompass challenges to any “law affecting future reimbursements.” ROA.622

(emphasis added). That is not what the statute says. If it were, even a

constitutional challenge to a separately codified law prohibiting doctors from

advising patients on certain topics would have to be channeled through the

Medicare reimbursement process. Another court that has addressed the issue

has rejected such absurdities, holding that a challenge to agency action taken

under subchapter XI does not “aris[e] under subchapter XVIII” and thus is

not subject to channeling—even if it could affect future reimbursements. Ass’n

of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 491 (D. Md. 2020) (ACCC).




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      Finally, although the district court did not address Article III standing,

this Court should resolve that question now to avoid further delay and a possible

second appeal on a preliminary jurisdictional question on which the parties

agree the issue is fully joined. The issue is straightforward: By “depriv[ing]

[NICA] of ‘a procedural right to protect its concrete interests,’” the IRA inflicts

“a cognizable injury.” Texas v. EEOC, 933 F.3d 433, 447 (5th Cir. 2019) (citation

omitted). Plaintiffs allege that the IRA adopts constitutionally deficient

procedures that insulate agency decision-making from external input or

scrutiny. As a result, NICA and its members are already experiencing

constitutional harms: “The loss is not merely the subsequent deprivation, but

the right not to suffer a deprivation without proper process.” Bertulli v. Indep.

Ass’n of Cont’l Pilots, 242 F.3d 290, 295 (5th Cir. 2001). And in any event,

Plaintiffs plausibly allege that NICA will also suffer economic harm—a

quintessential injury for standing purposes—under the Drug Pricing Program.

This Court should reverse.

                      JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1346 and

erroneously held that it lacked jurisdiction over NICA’s claims under

42 U.S.C. §§ 405(h) and 1395ii. On February 12, 2024, the district court entered



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a final order dismissing Plaintiffs’ claims for lack of jurisdiction and improper

venue. ROA.626. Plaintiffs timely appealed. ROA.612. This court has

jurisdiction under 28 U.S.C. § 1291.

                        STATEMENT OF THE ISSUES

      1.    Whether this case, which challenges the constitutionality of the

Drug Pricing Program in subchapter XI of the Social Security Act, is an

“action … to recover on a[] claim arising under [subchapter XVIII]” as

provided in 42 U.S.C. §§ 405(h) and 1395ii.

      2.    Whether NICA has Article III standing to challenge the

Program’s constitutionality.

                        STATEMENT OF THE CASE

      A.    Prescription Drug Coverage Under Medicare

      Medicare, the federal government’s health coverage program for the

elderly and disabled, is codified in subchapter XVIII of the Social Security Act

(that is, title 42, chapter 7 of the U.S. Code). 42 U.S.C. § 1395 et seq. As an

insurance program, Medicare does not directly control or regulate the prices

that healthcare providers charge for their services or that pharmaceutical

manufacturers charge for their products. Instead, Medicare provides

reimbursement; it pays patients, or providers as their assignees, for incurred



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covered medical expenses defined in subchapter XVIII. The Secretary for

HHS administers Medicare through CMS. Id.

     Medicare is divided into several parts, two of which are pertinent here.

First, Medicare Part B covers medically reasonable and necessary medicines

that are furnished      incident   to   a     physician’s   services. 42        U.S.C.

§§ 1395k(a)(1), 1395x(s)(2)(A). Medicare Part B has, with certain exceptions,

long provided drug reimbursement based on market prices. Part B

reimbursement rates are generally based on the drug’s “average sales price”

(a weighted average of manufacturer sales prices to commercial U.S.

purchasers) plus a specified percentage (generally 6%). 42 U.S.C. § 1395w-3a.

By basing Part B payments on market transactions, Congress ensured that

pharmaceutical companies would have the opportunity to earn competitive

returns that encourage and fund future innovation.

     Second, Medicare Part D allows beneficiaries to enroll in privately

operated plans that cover outpatient drugs that are not physician-

administered. 42 U.S.C. § 1395w-102. Part D drug prices are also market-

based; Part D insurance plans are administered by private plan sponsors,

which negotiate prices with manufacturers. ROA.564-66. When Congress

created Part D, it prohibited HHS from “interfer[ing] with the negotiations



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between drug manufacturers[,] pharmacies[,] and [private health plans]”

regarding Part D drug prices. 42 U.S.C. § 1395w-111(i).

      Medicare includes an elaborate administrative scheme for reviewing

reimbursement claims made by patients and providers, ultimately leading to

judicial review in federal court. Id. § 1395ff. To channel reimbursement claims

through    that   administrative   scheme,      Medicare     (subchapter    XVIII)

incorporates a jurisdiction-limiting provision from the Social Security

disability insurance program (subchapter II). That provision limits federal-

court jurisdiction over any “action … to recover on any claim arising under

this subchapter”—as relevant here, subchapter XVIII. Id. § 405(h); see id.

§ 1395ii (incorporating § 405(h) into subchapter XVIII).

      B.    Prescription Drug Price Regulation Under the IRA

      The IRA established a new price-regulation program that is codified in

subchapter XI of the Social Security Act. Unlike the Medicare program in

subchapter XVIII, this new program does not define government benefits that

are payable for specific beneficiaries. Instead, it directly sets the prices that

pharmaceutical manufacturers must offer to certain buyers involved in

Medicare, on pain of extreme penalties. The statute directs HHS to establish

a “Drug Price Negotiation Program.” Id. § 1320f(a) (emphasis added). But in



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reality, the statute empowers HHS to set drug prices not by negotiation, but

by administrative fiat.

            1.     HHS Ranks and Selects “Negotiation-Eligible Drugs”

      The IRA directs HHS to rank “negotiation-eligible drugs” based on

Medicare’s “total expenditures” for those drugs (first in Part D, later in Part B

also) over a specified twelve-month period. Id. § 1320f-1(b)(1)(A). Drugs with

the highest total Medicare expenditures are ranked highest. Id.

      The “negotiation-eligible drugs” HHS must rank encompass many of the

most innovative drugs and biological products available. The IRA defines

“negotiation-eligible drugs” as the 50 “qualifying single source drugs” with the

highest total expenditures under Parts B and D. Id. § 1320f-1(d)(1). A

“qualifying single source drug” is defined as one that (1) is marketed under a

new drug application or a biologics license application, (2) has been approved

by FDA for at least 7 years for drugs or 11 years for biological products, and

(3) is not the reference drug for an approved and marketed generic drug or

biosimilar product. Id. § 1320f-1(e)(1).

      Once “negotiation-eligible” drugs have been identified and ranked, the

IRA directs HHS to “select” an increasing number of the highest-ranked

drugs for negotiation and “publish a list of [them].” Id. § 1320f-1(a). The IRA



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directed HHS to select ten Part D drugs in 2023, with “maximum fair prices”

taking effect in 2026, and 15 Part D drugs will be selected for 2027. Id. § 1320f-

1(a)(1)-(2). Part B drugs are added to the selection process beginning in 2026,

with maximum prices taking effect in 2028. Id. § 1320f-1(a)(1), (3). Fifteen

Part D and Part B drugs will be selected for 2028, and 20 Part D and Part B

drugs for 2029 and each year thereafter. Id. § 1320f-1(a)(3)-(4). This process is

cumulative: A selected drug remains selected until a certain period of time

after HHS determines that an approved generic or licensed biosimilar has

been marketed. Id. § 1320f-1(c)(1).

      The first ten drugs were selected on August 29, 2023. See HHS Selects

the First Drugs for Medicare Drug Price Negotiation, bit.ly/4367QNC.

            2.    HHS Sets “Maximum Fair Prices” Through Sham
                  “Negotiations”

      While the IRA nominally requires price “negotiation,” that is a

misnomer. Once drugs are ranked and selected, the IRA directs HHS to

“enter into agreements with manufacturers” whereby the parties “negotiate

to determine (and … agree to) a maximum fair price.” 42 U.S.C. § 1320f-

2(a)(1). Manufacturers of drugs included on the first list of selected drugs were

required to sign these “agreements” by October 1, 2023, or else face punishing




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excise taxes. Id. §§ 1320f(d)(2)(A), 1320f-2(a). The ensuing “negotiations” must

conclude by August 1, 2024. Id. §§ 1320f(d)(5), 1320f-3(b)(2)(E).

      The statute directs HHS to “aim[] to achieve the lowest maximum fair

price for each selected drug.” Id. § 1320f-3(b)(1). The “negotiation” process

includes an HHS “offer,” a manufacturer “counteroffer,” and an HHS

“[r]esponse.” Id. § 1320f-3(b)(2)(C)-(D). But that is where any resemblance to

genuine negotiation ends.

      The IRA sets no meaningful constraints on what prices HHS can

mandate. With one minor exception, the statute does not limit how low a price

HHS can demand. Id. § 1320f-3(b)(2)(F). But it does place a “ceiling” on how

high a price HHS can offer. Id. § 1320f-3(c). For the Program’s first year, the

ceiling generally is calculated as a percentage of a specified baseline price. The

ceiling ranges from 75% of that benchmark for recently approved drugs, down

to just 40% for drugs that have been approved for over 16 years. Id. § 1320f-

3(b)(2)(F), (c)(1)(C)(i). In other words, the IRA mandates a first-year

minimum discount of 25% to 60%. For subsequent years, the ceiling can be

even more restrictive—the statute directs HHS to use either the calculation

above or an alternative calculation if it results in a lower ceiling. Id. § 1320f-

3(c)(1)(C)(ii).



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      Below the “ceiling,” HHS has free rein to set prices as it pleases. At

most, HHS must “consider” specified “factors,” including research and

development costs, production and distribution costs, prior federal financial

support, data on patents and regulatory exclusivities, market data and

revenue and sales volume data, and information about alternative treatments.

Id. § 1320f-3(e). But the IRA sets no criteria for how to weigh these

considerations, nor does it require HHS to disclose in any meaningful way how

it balanced those factors in setting prices. And the statute’s low-ceiling, no-

floor design, coupled with the directive “to achieve the lowest maximum fair

price for each selected drug,” id. § 1320f-3(b)(1), gives HHS every incentive to

drive prices as low as possible.

      Once HHS has imposed a “maximum fair price” and that price takes

effect, the manufacturer must provide “access to such price to” individuals,

pharmacies, providers, and other entities that dispense to Medicare

beneficiaries. Id. § 1320f-2(a)(1). Manufacturers that fail to do so must pay a

penalty of ten times the difference between the price charged and the HHS-

imposed price, multiplied by the number of units sold. Id. § 1320f-6(b).




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            3.    Noncompliant Manufacturers Must Pay a Crippling
                  “Excise Tax”

      The hammer the IRA uses to force manufacturers to “agree” to HHS’s

chosen “maximum fair price” is a so-called “excise tax.” In ordinary

negotiations, parties that fail to reach agreement regarding price can walk

away. See ROA.236-37, 260-61. But under the IRA, walking away is not an

option. The statute imposes a steep penalty for every day the manufacturer

has not, by the deadline, (1) entered into an “agreement” to “negotiate” a

maximum fair price, or (2) “agreed” to the maximum fair price that HHS

imposes. 26 U.S.C. § 5000D(b). While Congress labeled this penalty an “excise

tax,” it is intended to coerce rather than to raise revenue.

      The size of this “tax” is staggering. By the statute’s terms, it applies to

all U.S. sales of the drug in question, not just Medicare sales. Id. The tax is

calculated based on a formula representing an “applicable percentage” of the

drug’s total cost (price plus tax). Id. § 5000D(d). The applicable percentage

starts at 65% and then increases 10% for each quarter of noncompliance until

it reaches 95%. Id. As the Congressional Research Service explained, “[t]he

excise tax rate” thus “range[s] from 185.71% to 1,900% of the selected drug’s

price depending on the duration of noncompliance.” Cong. Rsch. Serv., Tax

Provisions in the Inflation Reduction Act of 2022 (H.R. 5376), 4 (Aug. 10,


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2022), https://bit.ly/3sbHYBy. In other words, the statutory tax starts at

nearly double the manufacturer’s total daily U.S. revenue for the drug and

quickly escalates to 19 times revenue.

      A summary of predecessor legislation aptly described the excise tax as

a “steep, escalating penalty.” Nancy Pelosi, Summary of H.R. 3 (Sept. 19,

2019), https://politi.co/49wRcZb. Indeed, though the statute calls it a “tax,”

both the Joint Committee on Taxation and CBO estimated that the “tax” would

raise “no revenue” because no manufacturer could afford to pay it. Joint

Comm’n on Tax’n, Estimated Budget Effects of the Revenue Provisions of

Title XIII - Committee on Ways and Means, of H.R. 5376, The “Build Back

Better Act,” at 8 (Nov. 19, 2021), https://bit.ly/3plC4cd; see CBO, Estimated

Budgetary Effects of Public Law 117-169, at 5 (Sept. 7, 2022),

https://bit.ly/3JOiq3r (similar). Manufacturers will have no choice but to

“agree” to whatever “maximum fair price” HHS imposes.

      The IRA provides that the excise-tax penalty may be “[s]uspen[ded],”

but only if the manufacturer terminates its agreements with HHS, eliminating

coverage for its drugs under Medicare Part D, Medicare Part B, and Medicaid.

26 U.S.C. § 5000D(c). Opting out of the IRA does not merely terminate

coverage for those of the manufacturer’s drugs that are subject to the IRA’s



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Drug Pricing Program, but for all the manufacturer’s drugs. Id.; see 42 U.S.C.

§ 1396r-8(a)(1).

      Although the government has suggested that any manufacturer may

withdraw from Medicare and Medicaid, “[t]he consequence of” doing so

“would be catastrophic for almost any manufacturer,” as well as for patients.

ROA.263-65. “Through Medicare and Medicaid, [the federal government] pays

for almost half the annual nationwide spending on prescription drugs.” Sanofi

Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023). Medicare and

Medicaid account for an outsized portion of many manufacturers’ revenue, and

withdrawing would cause millions of patients to lose access to medicines on

which they depend. See ROA.264; ROA.327-28; ROA.351; ROA.365. Pulling

the rug out from under patients who have come to rely on medicines for a

course of therapy would raise ethical concerns and would be “anathema” to

manufacturers’ “mission.” ROA.327-28; see also ROA.365; ROA.264-65.

      Even if a manufacturer were able to bear those financial, ethical, and

reputational costs, the Part D statute delays manufacturers’ ability to exit

from Medicare Part D—and thus compels them to participate—for between

11   and    23     months.     42   U.S.C.       §§ 1395w-114a(b)(1)(C)(ii),       1395w-

114c(b)(4)(B)(ii), 1395w-153(a)(1). CMS has issued nonbinding guidance



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asserting that, if manufacturers withdraw, the agency will take administrative

actions to reduce that exit delay down to 30 days. See CMS, Medicare Drug

Price Negotiation Program: Revised Guidance for Initial Price Applicability

Year 2026 [hereinafter Revised Guidance], at 120-21 (June 30, 2023),

https://bit.ly/3JLSSUH. But the agency’s statutory basis for those promised

administrative actions is dubious at best, and manufacturers cannot rely on

them—particularly since the agency could change its mind at any time. 1

            4.    The IRA Limits Notice-and-Comment Rulemaking and
                  Judicial Review

      In contrast to the Medicare program, the Drug Pricing Program

contains no elaborate administrative and judicial review scheme. Indeed,

despite the statute’s sweeping delegation of authority to CMS—and the

unprecedented burdens on manufacturers and serious repercussions for



1
 CMS says it intends to reduce the exit delay under the Secretary’s authority
to terminate manufacturers for “a knowing and willful violation of the
requirements of the agreement or other good cause shown.” 42 U.S.C.
§§ 1395w-114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i); see Revised Guidance at
120-21, 129-31. That contradicts the statute, which lays out two separate paths
to termination—one after 11-to-23 months at the manufacturer’s request, and
another with 30 days’ notice and a right to a hearing based on the agency’s
determination of manufacturer misconduct. Treating a manufacturer’s own
request for termination as the agency’s would mean that a manufacturer
receives a hearing on its own purportedly voluntary exit from the program.
That is nonsensical.


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providers and patients—affected parties have no say in how HHS implements

key parts of the Program, and the statute bars judicial review of many of the

agency’s most critical decisions, eliminating an essential check on the exercise

of regulatory powers.

      On the front end, there is no right to participate in the implementation

process. The Administrative Procedure Act sets forth requirements for notice-

and-comment rulemaking, which the Social Security Act requires HHS to

follow in substantive rulemaking under Medicare. 5 U.S.C. § 553(b), (c);

42 U.S.C. § 1395hh. The IRA, however, provides that HHS “shall implement

[the Drug Pricing Program] for 2026, 2027, and 2028, by program instruction

or other forms of program guidance.” Id. § 1320f note. CMS has read that

language to exempt the Drug Pricing Program from notice-and-comment

requirements during the Program’s formative years. See Revised Guidance at

8-11; CMS, Medicare Drug Price Negotiation Program: Initial Guidance for

Initial     Price   Applicability   Year       2026,   at     1-2   (Mar.    15,     2023),

https://bit.ly/3J9eYQm. Moreover, CMS told stakeholders that it was not

taking comments on critical implementation issues, but that it “may make

changes to any policies” at any time. Id. at 2.




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      On the back end, after implementation decisions are made, the IRA

purports to insulate critical decisions from review. The statute provides that

“[t]here shall be no administrative or judicial review” of key HHS

determinations, including “[t]he selection of drugs,” “the determination of

negotiation-eligible drugs,” “the determination of qualifying single source

drugs,” and “[t]he determination of a maximum fair price.” 42 U.S.C. § 1320f-

7(2)-(3).

      C.    NICA and Its Members

      NICA is a non-profit Texas corporation headquartered in Austin, Texas.

ROA.18. NICA is an association of non-hospital, community-based infusion

providers that offer care to patients safely and efficiently in high-quality,

lower-cost settings. Id. NICA’s members include BioTek reMEDys. ROA.557-

58. A full list of NICA’s members is available on NICA’s website. See Provider

Members, NICA, https://bit.ly/3EsPN95.

      “Infusion” or “infusion therapy” refers to the delivery of medications

directly into a patient’s veins. ROA.336. Millions of patients rely on infusion to

treat a host of complex conditions, including Crohn’s disease, rheumatoid

arthritis, and multiple sclerosis. ROA.337; ROA.18-19. Infusion centers

typically provide services more economically and conveniently than



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hospitals. ROA.336. Infusion providers generally obtain reimbursement under

Part B, but many also operate in-house pharmacies that bill Part D plans and

dispense medications to patients to self-administer or to be administered by

the infusion center. ROA.563; ROA.558. The Drug Pricing Program’s first list

of selected drugs includes Stelara®, which several NICA members dispense

and administer, and for which they are reimbursed under Medicare. ROA.565;

see HHS, HHS Selects the First Drugs for Medicare Drug Price Negotiation

(Aug. 29, 2023), https://bit.ly/460imGp.

      The IRA is already affecting and harming NICA’s concrete interests by

holding the prices of the drugs its members administer and dispense hostage

to a novel and unconstitutional decisionmaking process in which NICA’s

members have no say. Indeed, the expected decrease in Part B and Part D

reimbursements is already having “negative effects on NICA’s members[’]

ability to raise debt and equity financing on favorable terms,” and threatening

to “throw their financial stability into peril.” ROA.566-67.

      D.    Procedural History

      On June 21, 2023, Plaintiffs sued HHS, its Secretary, CMS, and its

administrator. ROA.11-69. Plaintiffs brought three claims, arguing that the

IRA violates (1) the separation of powers and the nondelegation doctrine, (2)



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the Eighth Amendment’s Excessive Fines Clause, and (3) the Fifth

Amendment’s Due Process Clause.

      On August 1, 2023, the parties jointly proposed an expedited schedule

for cross-motions for summary judgment. ROA.165-70. The district court

entered the stipulated schedule, ROA.171-72, and Plaintiffs moved for

summary judgment, ROA.173-210. But a few weeks later, the government

reneged; it successfully moved (over Plaintiffs’ opposition) to vacate the joint

scheduling order, ROA.459-501, 524-27, and moved to dismiss, ROA.434-58.

The government argued that NICA lacks standing because it has not suffered

a cognizable injury and, regardless, did not exhaust administrative remedies.

ROA.440-42. And because NICA is the only Plaintiff that “resides” in the

Western District of Texas, the government argued that, without NICA, venue

in that district is improper. Id.

      On February 12, 2024, the district court granted the government’s

motion and dismissed the case for lack of subject-matter jurisdiction and

improper venue. ROA.609-10. The court did not reach standing, ruling solely

that NICA failed to exhaust administrative remedies. ROA.603-09. The court

reasoned that, “even though the challenges are constitutional and the

requested relief is injunctive,” “Plaintiffs ask the Court to hold that a law



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affecting future reimbursement is unconstitutional.” ROA.606. In the court’s

view, “Plaintiffs would not have standing or a substantive basis for a claim for

reimbursement without the Medicare Act,” and “[t]herefore, these claims

arise under the Medicare Act and Section 405(h) channeling applies.”

ROA.607. Because NICA did not submit its constitutional challenges to HHS

before filing suit, the court concluded that it lacks subject-matter jurisdiction

over NICA’s claims. ROA.607-09. And without NICA, the court held that

venue is improper. ROA.609-10.

      In dismissing the case rather than transferring to another district, the

court noted that “[n]either party offered a transferee venue.” ROA.610. The

court then added that “the same federal jurisdictional defect likely exists for

PhRMA and GCCA”—even though the government had never even suggested

that channeling applies to any plaintiff beyond NICA. Id.

                        SUMMARY OF ARGUMENT

      I.    Plaintiffs’ constitutional challenges to the IRA’s drug-pricing

scheme are not subject to channeling under § 405(h). As incorporated into the

Medicare Act, that provision bars lawsuits seeking “to recover on any claim

arising under this subchapter [i.e., subchapter XVIII].” Channeling is thus

required only “if both the standing and the substantive basis for the



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presentation of the claim is the Medicare Act” or if the claim is “inextricably

intertwined with a claim for Medicare benefits.” RenCare, 395 F.3d at 557.

This lawsuit does not fall into any of those categories. NICA’s standing is

grounded in constitutional harm from the operation of the IRA; its claims are

facial constitutional challenges under the separation of powers, Excessive Fines

Clause, and Due Process Clause; and its requested relief is invalidation of the

Drug Pricing Program, which is codified outside Medicare. Nor are NICA’s

claims “inextricably intertwined” with claims for Medicare benefits simply

because a     successful challenge to        the IRA could       affect NICA’s

reimbursements. The IRA’s price-setting provisions say nothing about

Medicare reimbursement or claims for reimbursement. Rather, they require

the offer of a discounted price, an activity outside the purview of § 405(h).

Channeling would be particularly inappropriate here given the IRA’s

preclusion of administrative review, the facial nature of Plaintiffs’ challenges,

and the constitutional doubts that would arise from shutting the courthouse

doors to Plaintiffs’ constitutional claims. The district court’s holding that

channeling is required for any claim challenging a law “affecting future

reimbursements,” ROA.606, misstates the inquiry and, if followed in other

cases, would lead to untenable results.



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      II.   NICA has Article III standing. NICA alleges that the Drug

Pricing Program deprives its members of procedural rights, including “any

opportunity to weigh in on key determinations,” ROA.66, and subjects them to

an unconstitutionally structured decision-making process, ROA.39-47. Those

“here-and-now injur[ies],” Axon Enter., Inc. v. FTC, 598 U.S. 175, 189, 192

(2023), “cannot be remedied through the retroactive payment of Medicare

benefits” or “through the [Medicare] Act’s administrative review process,”

Alvarado Hosp., LLC v. Price, 868 F.3d 983, 997 (Fed. Cir. 2017). In addition,

the IRA imminently will inflict economic injuries by reducing NICA’s

reimbursement payments and undermining its members’ “ability to raise debt

and equity financing on favorable terms.” ROA.566.

                        STANDARD OF REVIEW

      This court reviews de novo “the district court’s determination that

[Plaintiffs’] claims arise under the Medicare Act.” RenCare, 395 F.3d at 557.

This court likewise reviews de novo “questions of standing.” Texas v. EEOC,

933 F.3d at 446.




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                                   ARGUMENT

I.    Plaintiffs Are Not Required To Channel Their Claims Through
      HHS

      Under Social Security and Medicare, Congress has channeled judicial

review of certain claims—and only certain claims—through the relevant

agency. Codified in subchapter II of the Social Security Act, which governs the

Social Security disability insurance program, 42 U.S.C. § 405(h) provides that

“[n]o action against the United States, the Commissioner of Social Security, or

any officer or employee thereof shall be brought under section 1331 or 1346 of

title 28 to recover on any claim arising under this subchapter.” Instead, a

plaintiff bringing such an action must invoke the jurisdiction conferred by

42 U.S.C. § 405(g), which provides that “[a]ny individual, after any final decision

of the Commissioner of Social Security[,] … may obtain a review of such

decision by a civil action commenced within sixty days.”

      Section 405(h) applies to certain Medicare claims. Codified in the

Medicare Act (subchapter XVIII of the Social Security Act), 42 U.S.C. § 1395ii

provides that “[t]he provisions of section[] … (h) of section 405 of this title[] shall

also apply with respect to this subchapter to the same extent as they are

applicable with respect to subchapter II.” Reading § 405(h) in light of § 1395ii

means that “[n]o action against the United States, the [HHS Secretary], or any


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officer or employee thereof shall be brought under section 1331 or 1346 of title

28 to recover on any claim arising under this subchapter [XVIII].” But actions

that do not seek “to recover on [a] claim arising under” that subchapter do not

require exhaustion.

      A.    Plaintiffs’ Suit Is Not an Action To Recover on a Claim
            Arising Under Subchapter XVIII

      Plaintiffs’ facial constitutional attack on the IRA’s unprecedented Drug

Pricing Program in subchapter XI is not an “action … to recover on any claim

arising under” subchapter XVIII. 42 U.S.C. § 1395ii. A lawsuit is subject to

channeling under § 405(h) only “if both the standing and the substantive basis

for the presentation of the claim is the Medicare Act, or if the claim is

inextricably intertwined with a claim for Medicare benefits.” RenCare, 395

F.3d at 557 (cleaned up). None of those conditions is satisfied in this case. And

channeling would be particularly inappropriate here given the IRA’s limitation

of administrative review and the facial constitutional nature of Plaintiffs’

claims. The district court’s contrary reasoning misunderstands the statute,

distorts Plaintiffs’ claims, and would lead to absurd results.




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             1.    Subchapter XVIII Does Not Provide Plaintiffs’
                   Standing or the Substantive Basis of Their Claims

      A claim does not “aris[e] under” a subchapter unless the subchapter

provides both the standing and the substantive basis for the claim. Here, the

Medicare statute provides neither.

      a.     The Supreme Court has interpreted the key language four times.

First, in Weinberger v. Salfi, 422 U.S. 749 (1975), a mother and daughter

challenged the constitutionality of a Social Security eligibility requirement. Id.

at 753-54. Despite not having exhausted administrative remedies, the plaintiffs

sought “a judgment directing the Secretary to pay Social Security benefits.” Id.

at 761. The Supreme Court held that it was “fruitless to argue that th[e] action

does not . . . arise under the Social Security Act,” as “it [wa]s the Social Security

Act which provide[d] both the standing and the substantive basis” for their

claims. Id. at 760-61.

      Second, in Heckler v. Ringer, 466 U.S. 602 (1984), patients asserted

statutory challenges to HHS’s policy of denying coverage for a particular

surgery under Part B. Id. at 609-10. The Court held that it made “no sense to

construe the claims … as anything more than, at bottom, a claim that they

should be paid for their BCBR surgery.” Id. at 614. Although the plaintiffs

challenged procedural aspects of HHS’s policy, those challenges were


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“inextricably intertwined with [plaintiffs]’ claims for benefits.” Id. “Indeed, the

relief that [the plaintiffs] s[ought] to redress their supposed ‘procedural’

objections [wa]s the invalidation of [HHS]’s current policy and a ‘substantive’

declaration … that the expenses of [the] surgery are reimbursable under the

Medicare Act.” Id.

      Third, in Bowen v. Michigan Academy of Family Physicians, 476 U.S.

667 (1986), doctors challenged an HHS regulation that authorized the payment

of Part B benefits in different amounts for similar physicians’ services but did

not submit any claim to Part B reimbursement. Id. at 668. The Supreme Court

held that the doctors were not required to channel that claim through HHS. Id.

at 679-81. The Court relied on the legislative history of § 1395ii, while also noting

that, due to the details of the Part B administrative and judicial review scheme,

requiring channeling there would mean that the doctors could obtain “no review

at all.” Id. at 680. The Court thus held that §§ 405(h) and 1395ii foreclosed

review “only of ‘amount determinations’”—not of “substantial statutory and

constitutional challenges to the Secretary’s administration of Part B of the

Medicare program.” Id.

      Finally, in Shalala v. Illinois Council on Long Term Care, Inc., 529 U.S.

1 (2000), the Court considered § 405(h) as it related to a challenge to certain



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Medicare Part A regulations. Writing for a closely divided court, Justice Breyer

read Michigan Academy to mean that “§ 1395ii does not apply § 405(h) where

application of § 405(h) would not simply channel review through the agency, but

would mean no review at all.” Id. at 19. Because the Illinois Council plaintiffs

could obtain review of their challenges, the Court held that their claims needed

to be channeled. Id. at 20-21.

      Four Justices dissented in an opinion by Justice Thomas. He explained

that, “[u]nder Michigan Academy, a case involving an ‘amount determinatio[n]’

would trigger § 1395ii’s incorporation of § 405(h), and thus bar federal-question

jurisdiction; a ‘challeng[e] to the validity of the Secretary’s instructions and

regulations’ would not.” Id. at 37-38. Also in dissent, Justice Stevens—the

author of Michigan Academy—explained that a provider’s challenge to HHS

regulations is not “fairly characterized as an action ‘to recover’ on a claim that

is parallel to a claim for Social Security benefits.” Id. at 31 (Stevens, J.,

dissenting).

      These cases (and their progeny) demonstrate that channeling is not

required for all claims that simply implicate Medicare. Courts have repeatedly

held that a lawsuit is not an action “to recover on a claim arising under” the

Medicare Act merely because it relates to or might affect reimbursement or



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benefits. See, e.g., ACCC, 509 F. Supp. 3d at 491 (channeling not required for

constitutional and procedural challenges to “new reimbursement scheme”

undertaken under subchapter XI); RenCare, 395 F.3d at 557 (channeling not

required for contract-related claims that were “based on state law,” even

though the claims stemmed from “a dispute over reimbursement”); Alvarado

Hosp., LLC, 868 F.3d at 997 (channeling not required for breach-of-contract

claim even though plaintiffs, “at bottom, … [we]re seeking reimbursement for

services they provided to Medicare beneficiaries”); Do Sung Uhm v. Humana,

Inc., 620 F.3d 1134, 1145 (9th Cir. 2010) (channeling not required for claim that

insurer misrepresented the scope of Part D coverage); United States v. Blue

Cross & Blue Shield of Ala., Inc., 156 F.3d 1098, 1104 (11th Cir. 1998) (“Nothing

in subsection 405(h) … suggests that the third sentence of subsection 405(h)

eliminates federal-question jurisdiction over all actions implicating the

Medicare Act … .”).

      b.    NICA’s claims do not “aris[e] under” the Medicare Act because

the Medicare Act does not provide “both the standing and the substantive

basis for the presentation of the claim.” RenCare, 395 F.3d at 557 (emphasis

added). The Act provides neither.




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      Start with standing. NICA primarily alleges procedural harms based on

the IRA’s novel “negotiation” regime, which is codified in subchapter XI. As

explained below, see infra § II.A., this “unconstitutionally structured

decisionmaking process” inflicts a “here-and-now injury” on NICA. Axon

Enter., 598 U.S. at 189, 192. And this procedural “injury cannot be remedied

through the retroactive payment of Medicare benefits” or “through the

[Medicare] Act’s administrative review process.” Alvarado Hosp., 868 F.3d at

997. While the IRA’s economic consequences are another form of harm, NICA

has standing even if none of its members ultimately lose a single cent of

reimbursements. NICA’s principal “cognizable injury” is that “it has been

deprived of ‘a procedural right to protect its concrete interests.’” Texas v.

EEOC, 933 F.3d at 447 (cleaned up) (emphasis added). “[T]he Medicare Act”

does not, therefore, “provide[] … the standing for [NICA’s] claim[s].” Ringer,

466 U.S. at 620.

      The Medicare Act also does not provide the “substantive basis for”

NICA’s claims. RenCare, 395 F.3d at 557 (cleaned up). To begin with, the law

that created NICA’s causes of action is not the Medicare Act, but the

Constitution. As the Supreme Court has repeatedly noted, “[t]he most familiar

definition of … ‘arising under’ … is the statement by Justice Holmes that a



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suit ‘arises under the law that creates the cause of action.’” Jones v. R.R.

Donnelley & Sons Co., 541 U.S. 369, 377 (2004) (quotation marks omitted).

      Nor does this lawsuit challenge any provision of the Medicare Act

governing reimbursement. Rather, Plaintiffs challenge the IRA’s separate

Drug Pricing Program, whereby the government dictates drug prices for

individuals, providers, and dispensers under cover of a sham “negotiation”

process. Although Medicare’s channeling provisions are limited to claims

arising under subchapter XVIII, Congress chose to codify this new program

in subchapter XI:

      PROGRAM TO LOWER PRICES FOR CERTAIN HIGH-
      PRICED SINGLE SOURCE DRUGS.—Title XI of the Social
      Security Act is amended by adding after section 1184 (42 U.S.C.
      1320e-3) the following new part: … .

IRA § 11001(a), 136 Stat. 1833. NICA’s claims are facial constitutional

challenges to provisions outside the Medicare Act, and its requested relief is

invalidation of a program codified in a different subchapter. “Accordingly, the

plain text of the relevant statutes demonstrates that [NICA is] not subject to

the jurisdictional bar in section 405(h).” ACCC, 509 F. Supp. 3d at 491.

      ACCC is instructive. There, NICA, GCCA, PhRMA, and another

organization brought constitutional and statutory challenges to a “new

reimbursement scheme” that “require[d] reimbursements made for certain


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drugs covered by Medicare Part B to be based on the lowest price in a group of

‘most favored nations’ rather than the average U.S. sales price.” Id. As here,

the government argued that NICA needed to channel its claims through HHS.

But the district court disagreed and halted the new reimbursement scheme.

Id. at 491, 505. The court explained that, because “[t]his new reimbursement

model was promulgated pursuant to 42 U.S.C. § 1315a,” “which is in subchapter

XI,” NICA “d[id] not make any specific or individual claims for reimbursement

under subchapter XVIII”—that is, under the Medicare Act. Id. at 488, 491. Its

claims therefore “ar[o]se under 42 U.S.C. § 1315a,” not the Medicare Act. Id. at

491.

       The same is true here. Plaintiffs have not submitted reimbursement

claims under subchapter XVIII, and their facial constitutional challenges to the

IRA’s Drug Pricing Program are substantively based in subchapter XI. Cf.

Alvarado Hosp., 868 F.3d at 999 (holding that a claim did not “arise under” the

Medicare Act because it was “contract law, and not the Medicare Act, that

provide[d] both the standing and the substantive basis for the presentation of

[the plaintiffs’] breach of contract claim”).

       It is no accident that Congress enacted the Drug Pricing Program

separately from the Medicare Act. The Medicare program in subchapter



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XVIII is a longstanding public benefits program providing health insurance

and prescription drug coverage. It does not directly control the prices that

manufacturers or providers charge in the marketplace. When pharmacies and

providers incur covered medical expenses, Medicare reimburses a specified

sum. Subchapter XVIII sets the scope of healthcare benefits that are payable

for Medicare beneficiaries, which is why Congress limited § 405(h) channeling

to claims for benefits under subchapter XVIII. The Drug Pricing Program in

subchapter XI, by contrast, is a novel price-setting regime that directly

regulates the prices private parties can charge in transactions to which the

government is not a party. A suit asserting facial constitutional challenges to

provisions in subchapter XI cannot fairly be described as an “action … to

recover on any claim arising under” subchapter XVIII.

            2.    Plaintiffs’ Claims Are Not “Inextricably Intertwined”
                  with Claims for Benefits

      NICA’s facial constitutional challenges to provisions in subchapter XI

are not “inextricably intertwined” with claims for benefits under subchapter

XVIII. A constitutional challenge to a statute is “inextricably intertwined with

a claim for Medicare benefits” only where it is nothing “more than, at bottom,”

a claim that the plaintiff was “denied services or reimbursement for services.”

RenCare, 395 F.3d at 557-58 (citation omitted). Conversely, “claims are not


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‘inextricably intertwined’ [when] the [plaintiffs] are at bottom not seeking to

recover benefits.” Ardary v. Aetna Health Plans of Cal., Inc., 98 F.3d 496, 500

(9th Cir. 1996). That latter description fits Plaintiffs’ claims here.

      In enacting § 405(h), Congress determined that the “hardship” of

channeling “was justified” to the extent that “Medicare, embodied in hundreds

of pages of statutes and thousands of pages of often interrelated regulations,

… may become the subject of a legal challenge.” Shalala v. Ill. Council on Long

Term Care, Inc., 529 U.S. 1, 13 (2000) (emphasis added). And a plaintiff seeking

reimbursement under Medicare must rely on one of the avenues for judicial

review established under the Medicare statute. Relevant here, 42 U.S.C.

§ 1395ff(b)(1) authorizes “any individual dissatisfied with any initial

determination” of their entitlement to Part B Medicare benefits to seek “judicial

review” and to be “represented” by the provider who furnished the services.

That makes sense: Those unhappy with the size of their reimbursement should

first give the agency an opportunity to adjust it. Thus, “Section 405(h) prevents

beneficiaries … from evading administrative review by creatively restyling

their benefits and eligibility claims as constitutional or statutory challenges to

Medicare statutes and regulations.” Blue Cross & Blue Shield of Ala., 156 F.3d

at 1104.



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      But if plaintiffs are “able to prove the elements of the[ir] causes of action

without regard to any provisions of the [Medicare] Act relating to provision of

benefits,” then their “claims are not subject to the Act’s exhaustion provisions.”

Do Sung Uhm, 620 F.3d at 1145. Channeling is not required when plaintiffs “do

not challenge provisions of the Medicare Act or its regulations as having

denied them benefits,” and their claims “involve[] separate issues and [are]

completely separate from a substantive claim to benefits,” such that “hearing

their … claim[s] will not mean reviewing the merits of the underlying

reimbursement claims decisions.” Alvarado Hosp., 868 F.3d at 997-98. If a

challenge does not depend on “any specific or individual claims for

reimbursement under subchapter XVIII,” ACCC, 509 F. Supp. 3d at 491, then

it is not intertwined with an “action … to recover on any claim under th[at]

subchapter,” 42 U.S.C. § 405(h); see id. § 1395ii.

      Here, NICA’s claims are not, at bottom, claims for the denial of Medicare

benefits. “Medicare” is not the “subject” of NICA’s “legal challenge.”

Ill. Council, 529 U.S. at 13. While NICA’s claims may “implicate benefits

determinations” in a very attenuated sense, NICA is not asserting

“constitutional or statutory challenges to Medicare statutes and regulations,”

Blue Cross & Blue Shield of Ala., 156 F.3d at 1104, and “do[es] not challenge



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provisions of the Medicare Act or its regulations as having denied [it]

benefits,” Alvarado Hosp., 868 F.3d at 997. NICA’s members do not have any

relevant “specific or individual claims for reimbursement,” ACCC, 509 F. Supp.

3d at 491, and they do not contend that they are constitutionally entitled to any

particular level of benefits. NICA’s facial constitutional challenges are

“completely separate from a substantive claim to benefits,” and resolving its

claims “will not mean reviewing the merits of [any] underlying reimbursement

claims decisions.” Alvarado Hosp., 868 F.3d at 998. And Plaintiffs will be “able

to prove the elements of the[ir] [constitutional] causes of action without regard

to any provisions of the [Medicare] Act.” Do Sung Uhm, 620 F.3d at 1145. As in

ACCC, Plaintiffs bring a facial constitutional challenge to a “reimbursement

model [that] was promulgated pursuant to” provisions in a different subchapter.

509 F. Supp. 3d at 488.

            3.    Channeling Would Be Particularly Inappropriate Here

      Other features of the Drug Pricing Program and Plaintiffs’

constitutional claims reinforce that channeling does not apply.

      In stark contrast to the detailed administrative and judicial review

mechanisms Congress established in subchapter XVIII, see 42 U.S.C. § 1395ff,

the Drug Pricing Program in subchapter XI contains no administrative or



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judicial review mechanisms. The IRA directs HHS and CMS initially to

implement the program through “program guidance.” Id. § 1320f note. The

agencies have taken this as a license to evade ordinary notice-and-comment

rulemaking, even while imposing new substantive obligations on regulated

parties—an astonishing departure from protections against arbitrary

executive action. See Revised Guidance at 8-11. Congress also expressly

provided that “there shall be no administrative or judicial review” of critical

implementation decisions, including “[t]he selection of drugs,” “the

determination of negotiation-eligible drugs,” “the determination of qualifying

single source drugs,” and “[t]he determination of a maximum fair price.”

42 U.S.C. § 1320f-7(2)-(3). Far from channeling legal challenges to the new

price-setting scheme through the agency, the IRA’s Drug Pricing Program

evinces an intent to avoid administrative review and judicial scrutiny.

      Furthermore, “agency adjudications are generally ill suited to address

structural constitutional challenges” such as this, “which usually fall outside the

adjudicators’ areas of technical expertise.” Carr v. Saul, 593 U.S. 83, 92 (2021);

see Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 (2010)

(similar). While an agency “knows a good deal” about its subject area, it knows




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“nothing special about,” for example, “the separation of powers.” Axon Enter.,

598 U.S. at 194.

      The canon of constitutional avoidance resolves any doubt in Plaintiffs’

favor. Reading §§ 405(h) and 1395ii to require channeling of Plaintiffs’ facial

constitutional claims would raise grave due process concerns. Plaintiffs

currently have no claim for Medicare benefits that they can present to HHS

and administratively exhaust. Plaintiffs will not have such a claim until, at the

earliest, January 2026 (when Part D price mandates take effect). That will be

long after Plaintiffs suffer the harms they allege. Even then, “the delay in the

administrative process for Medicare reimbursement is incontrovertibly

grotesque.” Cumberland Cnty. Hosp. Sys., Inc. v. Burwell, 816 F.3d 48, 50 (4th

Cir. 2016). And “the logjam of Medicare appeals shows no signs of abating

anytime soon.” Fam. Rehab., Inc. v. Azar, 886 F.3d 496, 500 (5th Cir. 2018).

While the government below noted that CMS regulations offer expedited

review of constitutional claims, 42 C.F.R. § 405.990(c)(2), the regulations make

clear that the agency will not rule on any constitutional issues, id § 405.990(g),

(h)—reinforcing that channeling Plaintiffs’ claims here serves no purpose

except delay.




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      In effect, the government argues that Plaintiffs cannot sue in federal

court to enjoin the implementation of a facially unconstitutional statute for

years, even though that statute is already harming Plaintiffs. That is

constitutionally dubious. See Michigan Acad., 476 U.S. at 681 (avoiding “the

‘serious constitutional question’ that would arise if [the Court] construed

§ 1395ii to deny a judicial forum for constitutional claims arising under Part B

of the Medicare program” (citations omitted)); Battaglia v. Gen. Motors Corp.,

169 F.2d 254, 257 (2d Cir. 1948) (“[W]hile Congress has the undoubted power

to give, withhold, and restrict the jurisdiction of courts other than the Supreme

Court, it must not so exercise that power as to deprive any person of life,

liberty, or property without due process of law … .” (footnote omitted)).

      B.    The Reasoning of the Decision Below Is Erroneous

      The district court concluded that Plaintiffs’ challenges to the IRA “arise

under” the Medicare Act even though Plaintiffs’ suit concerns a separate law

governing price-setting—not Medicare reimbursements. None of the district

court’s stated rationales justifies channeling Plaintiffs’ claims.

      Even though Plaintiffs challenge only the negotiation provisions of the

Drug Pricing Program in subchapter XI, the district court reasoned that

Plaintiffs’ claims arise under the Medicare statute because “Plaintiffs ask the



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Court to hold that a law affecting future reimbursements is unconstitutional.”

ROA.622 (emphasis added). That plainly misstates the inquiry. As noted, the

channeling provision requires exhaustion only for suits seeking “to recover on

a[] claim arising under” the Medicare statute, not for claims challenging a

separate “law” that might “affect[]” Medicare reimbursements.

      The district court’s rationale is implausibly broad. Dozens of laws

codified in different titles of the Social Security Act—or even titles of the U.S.

Code—potentially “affect future reimbursements,” including any law

regarding medical services. Cf. California Div. of Lab. Standards Enf’t v.

Dillingham Const., N.A., Inc., 519 U.S. 316, 335 (1997) (Scalia, J., concurring)

(“[A]s many a curbstone philosopher has observed, everything is related to

everything else.”). That would include any law that regulates the services

doctors provide, what medicines they prescribe, or any other aspect of how they

do their job, as those all will have at least some effect on reimbursement

payments. But facial constitutional challenges to such laws cannot possibly

“arise under” Medicare simply because they indirectly affect reimbursements.

      Consider a hypothetical statute prohibiting healthcare providers from

transporting particular medical products via interstate mail. While such a law

would impede providers’ ability to conduct particular procedures and obtain



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reimbursements, a constitutional challenge to the law obviously would not

“arise under” the Medicare Act. Or, suppose Congress, in an attempt to lower

healthcare expenditures, passed a law requiring physicians to prescribe

patients only generic versions of prescription drugs while prohibiting them

from speaking with patients about innovative drugs. Under the district court’s

rationale, a suit challenging that law on First Amendment grounds would

“arise under” the Medicare Statute and require channeling because the

statute’s fate would “affect[] future reimbursements.” ROA.622. 2

      The district court also opined that “Plaintiffs do in fact challenge

portions of subchapter XVIII, where portions of the Drug Pricing Program

were enacted, like Section 1395w-3a.” ROA.606-07. That woefully misstates

the nature of Plaintiffs’ challenge. While the IRA’s Drug Pricing Program

added “conforming amendments” to subchapter XVIII, Plaintiffs are not

challenging those provisions, which play no substantive role in this lawsuit.

IRA § 11001(b). The Drug Pricing Program itself is codified in subchapter XI,

and this lawsuit challenges only the unprecedented “negotiation” regime in that

subchapter—nothing more.


2
 Indeed, the district court’s rationale would require channeling in cases where
nobody even considered the issue, such as Alliance for Hippocratic Medicine
v. FDA, 78 F.4th 210 (5th Cir.), cert. granted, 144 S. Ct. 537 (2023).


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      The district court also concluded that “Plaintiffs would not have standing

or a substantive basis for a claim for reimbursement without the Medicare Act.”

ROA.607. As discussed, see supra § I.A.1, this misconstrues Plaintiffs’

Complaint. Again, NICA’s claims are constitutional challenges under the

separation of powers, Excessive Fines Clause, and Due Process Clause, see

ROA.63-67; NICA’s standing is grounded in procedural harm from the

operation of the IRA, see supra § I.A.1; and NICA’s requested relief is

invalidation of the Drug Pricing Program, see ROA.67. The IRA harms NICA

even if none of its members lose a penny of their reimbursements, and NICA

can prevail without the court invalidating a single word of the Medicare Act.3



3
 Community Oncology Alliance, Inc. v. OMB, 987 F.3d 1137 (D.C. Cir. 2021),
which the government invoked below, is not to the contrary. The plaintiff there
challenged a “sequestration order” under the Balanced Budget Act that “re-
quired a two percent reduction in all Medicare reimbursements.” Id. at 1140.
While the challenged order was authorized by a provision codified outside the
Medicare Act, the provision expressly cross-referenced the Medicare Act and
did nothing more than reduce Medicare reimbursements. See 2 U.S.C.
§ 906(d)(1)(A) (directing OMB and the President to determine and implement
reductions “with respect to the health insurance programs under title XVIII
of the Social Security Act”). In that context, the D.C. Circuit concluded that
the plaintiff’s claims were “plainly ones ‘arising under’ the Medicare Act,” em-
phasizing that the plaintiff’s standing and merits arguments both were di-
rected at securing “additional reimbursement under the Medicare Act.” Id. at
1143. The D.C. Circuit also rejected the plaintiff’s attempt to frame its suit as
challenging only the Balanced Budget Act. That statute, the court noted, does
not permit “as-applied challenges to individual sequestration orders,” yet “[i]n


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      Finally, in dismissing the case rather than transferring to another

district, the district court opined that “the same federal jurisdictional defect

likely exists for PhRMA and GCCA, as nothing suggests that either party has

presented its claims to [HHS].” ROA.610. But the government has never made

this argument—in this case or any of the other manufacturer suits challenging

the Drug Pricing Program—and for good reason. 4 Generally, § 405(h)

“permit[s] non-providers to seek immediate review in federal court,” even if

the providers would be subject to channeling. Council for Urological Ints. v.

Sebelius, 668 F.3d 704, 711 (D.C. Cir. 2011). Courts thus have allowed non-

provider plaintiffs to invoke federal-question jurisdiction under § 1331

notwithstanding §§ 405(h) and 1395ii. See id. at 707, 713; Am. Lithotripsy Soc.

v. Thompson, 215 F. Supp. 2d 23, 30 (D.D.C. 2002). At least one court has




its complaint, [the plaintiff] challenged ‘the application of the sequestration to
Medicare Part B drugs that was made effective April 1, 2013.’” Id. at 1141-42.
4
  Indeed, the government recently explained during oral argument in a similar
lawsuit that the Medicare Act’s channeling provision does not apply to manu-
facturers affected by the Program. See Hr’g Tr. 90:4-11, Janssen Pharmaceu-
ticals, Inc. v. Becerra, No. 3:23-cv-3818 (D.N.J. Mar. 7, 2024) (“We have not
raised the type of channeling arguments that were at issue in the [NICA] liti-
gation, among other reasons, because that litigation involved providers.…
[M]anufacturers are differently situated in a number of respects that, from
our standpoint, means that we think that argument is not one that was worth
raising here.”).


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applied this principle to a claim by a pharmaceutical manufacturer, which

“itself could not access HHS’[s] administrative review process.” Baxter

Healthcare Corp. v. Weeks, 643 F. Supp. 2d 111, 115 (D.D.C. 2009).

      The district court’s mistaken, offhand reference to channeling non-

providers’ claims underscores its broader misapplication of the doctrine.

Plaintiffs are not required to channel their claims under §§ 405(h) and 1395ii

before bringing facial constitutional challenges to provisions codified outside

subchapter XVIII.

II.   NICA Has Standing

      The government’s primary basis for its motion to dismiss was that NICA

lacks standing. ROA.446-51. Though the parties devoted the bulk of their

briefing below to that issue, the district court declined to reach it. ROA.614-27.

This Court should nevertheless resolve the parties’ standing dispute—a

threshold jurisdictional question—to avoid further protracting this litigation

and delaying resolution of the merits.

      The standing question here presents an issue of law based on undisputed

facts. Because it is potentially an alternative basis to affirm, its resolution is

necessary to fully dispose of this appeal. And its resolution would advance

interests in conserving judicial resources and permit the district court on



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remand to proceed directly to the merits. It also would avoid the risk of a second

appeal on a preliminary issue.

      A.    NICA Alleges Procedural Injuries

      Below, the government did not dispute that GCCA and PhRMA have

standing. As to NICA, whose standing the government has challenged, the

Complaint alleges two independent forms of injury sufficient for Article III:

procedural and economic. On the procedural side, the Drug Pricing Program is

already harming NICA’s members by depriving them of constitutionally

required due process, subjecting them to impermissibly delegated legislative

power, and coercing compliance via excessive fines. These are quintessential

procedural injuries: an unconstitutional decision-making scheme.5

      “A plaintiff can show a cognizable injury if it has been deprived of ‘a

procedural right to protect its concrete interests.’” Texas v. EEOC, 933 F.3d at

447 (quoting Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009) (cleaned

up)); accord Lujan v. Defs. of Wildlife, 504 U.S. 555, 573 n.8 (1992). “The loss is

not merely the subsequent deprivation, but the right not to suffer a deprivation


5
 Although there is no requirement to name a particular member “to survive a
Rule 12(b)(1) motion to dismiss based on a lack of associational standing,” Han-
cock Cnty. Bd. of Sup’rs v. Ruhr, 487 F. App’x 189, 198 (5th Cir. 2012), Plaintiffs
have identified a named NICA member suffering both forms of injury—BioTek
reMEDys, see ROA.563, 565; ROA.558.


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without proper process.” Bertulli, 242 F.3d at 295. Because “‘procedural rights’

are special,” a “person who has been accorded a procedural right to protect his

concrete interests can assert that right without meeting all the normal

standards for redressability and immediacy.” Lujan, 504 U.S. at 572 n.7. A

“litigant has standing if there is some possibility” that enforcing the procedural

right “will prompt the [defendant] to reconsider the decision.” Mass. v. EPA,

549 U.S. 497, 518 (2007) (emphasis added). Although a plaintiff asserting a

“deprivation of a procedural right” must identify “some concrete interest that

is affected by the deprivation,” Summers, 555 U.S. at 496, the plaintiff need not

“establish with any certainty” that the procedural error “will cause” harm and

may challenge a process even though its outcome “will not be completed for

many years,” Lujan, 504 U.S. at 572 n.7.

      Here, “[t]he loss” alleged “is not merely the subsequent deprivation” of

property, “but the right not to suffer a deprivation without proper process.”

Bertulli, 242 F.3d at 295. NICA’s members are already experiencing that harm.

The IRA deprives them of any input into the effects on their businesses of a

“negotiation” regime that (1) violates due process, (2) improperly delegates

legislative power to an executive agency, and (3) excessively penalizes parties




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who attempt to actually “negotiate.” Those procedural defects assuredly affect

NICA’s members’ concrete interests.

            1.    Due Process

      The IRA is already inflicting quintessential procedural harms on NICA’s

members by depriving them of due process. The Act “affords manufacturers,

providers, and patients no opportunity to be heard regarding key decisions that

HHS needs to make in order to implement the Act during the first three years

and simultaneously deprives them of any judicial review of those decisions.”

ROA.53. NICA’s members lack “any opportunity to weigh in on key

determinations,” and these “constitutionally [de]ficient procedures” multiply

“[t]he risk of erroneous deprivation” of their concrete interests: operating

within lawful constraints under a program that governs much of their industry,

“serving Medicare patients” fully and adequately, and even “stay[ing] in

business.” ROA.66. The procedural harm “is not merely the subsequent

deprivation” of the full value of the products NICA’s members dispense and

administer, “but the right not to suffer a deprivation without proper process.”

Bertulli, 242 F.3d at 295.

      The Complaint explains how IRA’s constitutionally inadequate

procedures are currently harming NICA’s members. To begin with, the IRA



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requires HHS to implement the program for the first few years through

“program guidance,” rather than notice-and-comment rulemaking that would

permit public input. IRA §§ 11001(c), 11002(c). The IRA then compounds this

front-end barrier by providing on the back end that “there shall be no

administrative or judicial review” of key implementation determinations. 42

U.S.C. § 1320f-7(2)-(3); see ROA.38-39. That unusual combination of structural

obstacles—which the agency is already invoking to insulate its decision-making

from public input or accountability—constitutes a clear “deprivation of a

procedural right.” Texas v. EEOC, 933 F.3d at 447. And while manufacturers

have at least some voice in “negotiations,” providers such as NICA—whose

interests are also at stake—do not even get that limited input.

            2.    Improper Delegation

      The IRA also harms NICA through an unconstitutional delegation of

legislative power to HHS. The Constitution’s “separation of governmental

powers” is “essential to the preservation of liberty.” Mistretta v. U.S., 488 U.S.

361, 380 (1989). And a “separation-of-powers violation,” such as “being

compelled to participate in an invalid administrative process,” coupled with “a

concrete interest in seeing the violation corrected,” is an “injury in fact” under

Article III. Consumers’ Rsch. v. Consumer Prod. Safety Comm’n, 91 F.4th 342,



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350 (5th Cir. 2024) (quotation marks omitted). In other words, “subjection to an

unconstitutionally structured decisionmaking process”—such as “an agency …

wielding authority unconstitutionally”—is an injury “irrespective of [the]

outcome.” Axon Enter., 598 U.S. at 189, 192. Indeed, rights to a

“[]constitutionally structured decisionmaking process … are ‘effectively lost’ if

review is deferred,” because being subject to improper decision-making is itself

a “here-and-now injury,” regardless whether it has yet produced financial

harm. Id. at 192; cf. Texas v. EPA, 829 F.3d 405, 434 (5th Cir. 2016) (recognizing

an “institutional injury … from the inversion of the federalism principles”).

      In Texas v. United States, 497 F.3d 491, 495 (5th Cir. 2007), for example,

this Court held that Texas had standing to challenge a regulation requiring it to

negotiate with Indian tribes regarding governance of gambling activities. This

Court “agree[d]” with Texas that “standing exist[ed]” because the regulation

allegedly “violate[d] the … nondelegation doctrine[]” and inflicted “the injury of

being compelled to participate in an invalid administrative process.” Id. at 499,

496-97. “Texas’s only alternative to participating in this allegedly invalid

process [was] to forfeit its sole opportunity to comment upon [tribal] gaming

regulations, a forced choice that [was] itself sufficient to support standing.” Id.

at 497.



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      The IRA’s improper delegation of legislative power inflicts a similar

injury. “[T]he IRA’s novel structure concentrates substantial power over a

significant part of the economy in an administrative agency with no checks to

ensure public accountability.” ROA.43. Congress unconstitutionally “delegated

unfettered discretion to HHS to set prices”—including by redefining key statu-

tory terms—which is “a wholly legislative function.” ROA.41-42. That

nondelegation problem, moreover, is compounded by the fact that the statute

strips away other protections—including public comment and judicial review—

that are necessary to protect both private rights and the broader public interest.

See Seila L. LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2196 (2020).

The IRA’s expansive delegation thus strikes at the core of separation-of-powers

concerns, as it is an obvious effort to escape accountability while allowing CMS

to exercise sweeping lawmaking powers: If Congress had been transparent

about mandating sales at government-imposed prices, it would have faced

“significant public criticism.” ROA.13. Because the IRA imposes on NICA

members legislative decisions rendered by an unaccountable agency, it inflicts

a cognizable separation-of-powers injury. See Axon Enter., 598 U.S. at 192.




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            3.    Excessive Fines

      The IRA’s “negotiation” regime also incorporates an unconstitutionally

excessive fine, which compounds its other procedural defects. In an actual

“negotiation,” each side has leverage because it can walk away from an

unsatisfactory offer. But when one side can harm the other if the other leaves

the table, the parties are no longer negotiating in any meaningful sense.

      Here, the massive, escalating “excise tax” is the “hammer through which

the Drug Pricing Program is enforced.” ROA.33. Without it, manufacturers

could decline unfairly low prices, and NICA’s members would not have to suffer

the consequences. But the excise tax prevents manufacturers from “walk[ing]

away” from sham negotiations and “doing anything but acquiescing to whatever

price HHS demands.” ROA.33, 35. The excise tax thus harms NICA by

transmuting the government’s “offer[s]” for pricing drugs, 42 U.S.C. § 1320f-

3(b)(2)(C), into inexorable commands, see Clinton v. City of New York, 524 U.S.

417, 432 (1998) (presidential veto conferred standing on plaintiffs where it

“depriv[ed] them of their statutory bargaining chip”).6



6
 Although the IRA’s compliance mechanism works by exerting influence on
manufacturers, a litigant has standing when complained-of harm results from
“the predictable effect of Government action on the decisions of third parties.”
Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566 (2019). Plaintiffs have alleged


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            4.    Concrete Interests

      In the district court, the government argued that NICA cannot rest its

standing on the “procedural injuries” described above because “the deprivation

of a procedural right without some concrete interest that is affected by the

deprivation—a procedural right in vacuo—is insufficient to create Article III

standing.” ROA.585 (quoting Dep’t of Educ. v. Brown, 600 U.S. 551, 562 (2023))

(cleaned up). But NICA is no mere bystander, complaining about an agency

foot-fault committed toward some other regulated party. The IRA’s deficiencies

prevent NICA’s members from protecting their own concrete interests. To

establish standing, NICA need not show that inadequate procedures will lead

to particular outcomes, or when they will do so—only “some possibility” that

NICA would have benefited from adequate procedures. EPA, 549 U.S. at 518.

That “possibility” is plain here, as two examples from CMS’s Guidance

implementing the program for 2026 illustrate.

      First, “CMS adopted its interpretation of ‘qualifying single source drug’

and ‘marketing’ as final … , without notice or any opportunity for

manufacturers, providers, patients, or the public to comment.” ROA.47 (cleaned




that manufacturers have “no choice” but to submit in view of the exorbitant
excise tax. ROA.19, 32, 35-36.


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up). In so doing, the agency misinterpreted “qualifying single source drug” to

include “distinct drugs that treat two different diseases but share the same

active moiety,” and to treat as a single product all biological products with the

same active ingredient. ROA.44. This definition harms NICA’s members by

covering “a broader swath of the treatments providers administer,” so

providers “have their reimbursement rates slashed” for more drugs. ROA.45-

46.

      Given the chance, NICA would have opposed that “broad interpretation,”

which “strays far from the statutory text.” ROA.44. If Congress had considered

how broadly to apply this program, rather than (purportedly) delegating that

task to a politically insulated agency, NICA’s members could have sought to

hold responsible legislators accountable. And if not for the IRA’s excessive

fines, manufacturers could more effectively resist CMS’s overreach during the

“negotiation” process, shielding providers from the consequences.

      Second, while “[t]he statute provides that a drug or biological product is

not eligible for price setting if it faces competition from a generic drug or

biosimilar that has been ‘marketed,’” ROA.46 (quoting 42 U.S.C. § 1320f-

1(e)(1)(A), (B)), CMS’s Guidance adds a requirement that “the manufacturer of

that drug or product is engaging in bona fide marketing of that drug or



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product,” Revised Guidance at 102 (emphasis added). According to the agency,

it is not enough that the generic drug has been “marketed,” which is all the IRA

requires. Rather, CMS will analyze the strength of that marketing effort, a

subject about which it has no expertise. This counter-textual agency rule never

underwent notice-and-comment. Providers, manufacturers, and patients had no

say. And now, the IRA requires NICA to sit by while HHS slashes the value of

its property.

      Nor was the district court correct to discount the harm to NICA’s

interests on the ground that “[a] provider’s participation in the Medicare

program is completely voluntary.” ROA.615. Long before the IRA was enacted,

providers invested billions of dollars building the infrastructure to furnish

innovative medicines to patients. At the time, providers lacked any notice that

pricing would later be set by the government. Now, even as Congress displaces

market pricing in favor of government-dictated prices, it prevents providers

from effectively protecting their investments and interests.

      NICA’s members in particular cannot escape the effects of the IRA’s

unconstitutional process. For a drug administered by NICA’s members to be

exempt, the drug’s manufacturer would need to terminate its Medicare Part D

agreements and its Medicaid rebate agreement for all its drugs. 26 U.S.C.



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§ 5000D(c); see id. § 5000D(c)(1). Withdrawing from Medicaid would result in all

of the manufacturer’s products also losing Part B coverage, because for a drug

to be payable under Part B, “the manufacturer must have entered into and have

in effect a [Medicaid] rebate agreement.” 42 U.S.C. § 1396r-8(a)(1). Thus,

NICA’s members cannot escape the IRA’s unconstitutional process unless the

manufacturers of the drugs they administer take the unlikely step of completely

ending their participation in Medicare and Medicaid. Providers like NICA have

no say in that decision.

      In any event, manufacturers cannot protect NICA’s interests because

they lack the ability to withdraw as a legal and practical matter. Coercing

submission to mandatory prices by threatening removal from Medicare and

Medicaid “is a gun to the head.” NFIB v. Sebelius, 567 U.S. 519, 581 (2012). “For

an abandonment option to render” compliance with a government program “a

voluntary choice, the option would have to at least be cognizable to [property]

owners.” Valancourt Books, LLC v. Garland, 82 F.4th 1222, 1235 (D.C. Cir.

2023). It is not enough “to characterize” the mandatory surrender of traditional

protections “as part of a voluntary exchange.” Id. In NFIB, for example, the

federal government’s “threat[] to withhold all of a State’s Medicaid grants” did

not give states the option to “voluntarily and knowingly” agree to “post-



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acceptance or ‘retroactive’ conditions,” which states “could hardly anticipate”

when they “developed intricate statutory and administrative regimes over the

course of many decades … under existing Medicaid.” 567 U.S. at 575, 577, 582,

584. Because “Congress … threatened to withhold those States’ existing

Medicaid funds” “[i]nstead of simply refusing to grant new funds to States that

will not accept the new conditions,” the Affordable Care Act’s mandate

amounted to “coercion.” Id. at 579-80.

      By making a complete exit from Medicare and Medicaid a manufacturer’s

only alternative to fiat pricing, the drug-pricing regime is equally coercive. Cf.

Tenoco Oil Co. v. Dep’t of Consumer Affs., 876 F.2d 1013, 1027 n.21 (1st Cir.

1989) (noting that the “freedom to temporarily leave the market may be largely

illusory” if, “[i]n practice, such a course might very well be economically

prohibitive”); Doe v. Univ. of Scis., 961 F.3d 203, 213 (3d Cir. 2020) (recognizing

that “total withdrawal of federal funding” can be “economic dragooning” and “a

gun to the head”).

      The IRA foreclosed even this Hobson’s choice during the first round of

“negotiation.” The Act expressly prevented manufacturers from withdrawing

until at least December 2023, well after the first ten drugs had been selected




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and manufacturers had been forced to sign “agreements” to “negotiate.” 7 In

other words, between the IRA’s enactment and the deadline to contractually

submit to the first “negotiation,” see 42 U.S.C. § 1320f-2(a), there was not even

an illusory option to withdraw. Manufacturers had to enter an unconstitutional

“negotiation” or pay an unconstitutional penalty, and providers had to incur

the consequences. Thus, for drugs selected in the first round—including eight

drugs manufactured by members of PhRMA and at least one drug dispensed

and administered by members of NICA—participation was compulsory as a

matter of law. NICA therefore is already suffering due process injuries

sufficient to confer Article III standing. Cf. FEC v. Cruz, 596 U.S. 289, 298

(2022) (standing exists when government “require[s] [the plaintiff] to subject

itself to the very framework it says unconstitutionally burdens its [rights]”).




7
 A manufacturer may exit the Drug Pricing Program and avoid the excise tax
only if it terminates all “applicable agreements.” 26 U.S.C. § 5000D(c). If a
manufacturer terminates the relevant agreements after January of a given
year, the termination generally will not be effective until the end of the follow-
ing plan year. See 42 U.S.C. §§ 1395w-114a(b)(4)(B)(ii), 1395w-
114c(b)(4)(B)(ii). Thus, if a manufacturer terminated all applicable agreements
when the IRA was enacted (August 16, 2022), the termination would not be
effective until after December 31, 2023.


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      B.    NICA Alleges Economic Injuries

      Although NICA’s procedural harms alone confer standing, the IRA also

will imminently inflict economic harms on NICA’s members. In fact, NICA’s

members dispense and administer a Part D drug that has already been

selected.

      1.    To adequately plead economic injury, a plaintiff must allege that

it will “likely” suffer financial harm. Bryant v. Yellen, 447 U.S. 352, 368 (1980);

see Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 298 (1979) (“a

realistic danger”). “But one does not have to await the consummation of threat-

ened injury to obtain preventive relief.” 442 U.S. at 298 (cleaned up). Instead,

the plaintiff need only show that “the threatened injury is certainly impending,

or there is a substantial risk that the harm will occur.” Dep’t of Com. v. New

York, 139 S. Ct. 2551, 2565 (2019) (citation omitted). In other words, injury must

be “fairly likely.” Crawford v. Hinds Cnty. Bd. of Supervisors, 1 F.4th 371, 376

(5th Cir. 2021).

      A sufficient likelihood exists when legislation upends a litigant’s

“concrete plans” based on the prior legal regime. Thus, “probable economic

injury resulting from governmental actions that alter competitive conditions

[i]s sufficient to satisfy the Article III ‘injury-in-fact’ requirement.” Clinton,



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524 U.S. at 433 (cleaned up). “It follows logically that any petitioner who is

likely to suffer economic injury as a result of governmental action that changes

market conditions satisfies this part of the standing test.” Id. (cleaned up).

      When a plaintiff alleges a financial harm that will occur, moreover, that

confers associational standing even if the harm will manifest in the future. In

American Forest & Paper Association v. EPA, 137 F.3d 291 (5th Cir. 1998),

for example, a trade association had standing to challenge an EPA rule that

would inflict future “costs of compliance.” Id. at 296. Under the challenged

rule, EPA required Louisiana to obtain its approval before granting discharge

permits. The trade association challenged the rule even though it “ha[d] not

alleged that any of its members ha[d] applied for a new permit or sought to

modify an existing one.” Id. But the Court “d[id] not find the permit holders’

injuries speculative,” since permits “must be renewed every five years,” and

“[m]odifications to existing permits must also be cleared with [the agencies].”

Id. Permit holders’ “need to comply, coupled with EPA’s frank announcement

of its intentions, belie[d] the agency’s claim that any injury [was] speculative.”

Id.

      2.    The financial injury to NICA’s members from lost Part B revenue

for drugs subject to mandatory prices is just as “imminent” and non-



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“speculative.” Id. “[W]ithin ten years, half of all Medicare drug spending will

be for drugs whose price is set under th[e] program.” ROA.30. Because NICA

members’ businesses depend on dispensing and administering the most-used

Part B drugs, there is no question that “a significant and growing number of”

Part B drugs NICA members dispense will be subject to mandatory prices.

ROA.19. This will occur no later than 2028, which is comparable to the “five

year[]” period at issue in American Forest. 137 F.3d at 296.

      And Part B is just the beginning. “NICA members that provide infusion

services and pharmaceuticals to Medicare patients are reimbursed through

both Part B and Part D.” ROA.563. The Complaint thus alleges that the IRA

will harm NICA’s members not only through Part B price caps, but also

through Part D price caps: “[M]embers of NICA” receive reimbursements for

“operating outpatient facilities for administering biological treatments,”

ROA.13 (emphasis added), and these treatments are covered “under Medicare

Part B and Part D,” ROA.19 (emphasis added). “[C]onstru[ing] the complaint

in favor of [Plaintiffs]” thus means “accept[ing] as true” the allegations that

NICA’s members also will suffer injury from Part D price caps. Warth v.

Seldin,422 U.S. 490, 501 (1975).




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      Indeed, this has already occurred. The first list of selected drugs for

negotiation includes Stelara®, which several NICA members administer, and

for which they “are reimbursed under both Part B and Part D.” ROA.563, 565;

see ROA.558; HHS, HHS Selects the First Drugs for Medicare Drug Price

Negotiation (Aug. 29, 2023), https://bit.ly/460imGp. Stelara ® will be subject to

mandatory prices in 2026. When that occurs, “the margins that NICA

members earn on those drugs will decrease, causing them to incur losses on

services to Medicare patients.” ROA.37.

      Once a drug has been selected, “reimbursement rates … will be based

on the IRA’s ‘maximum fair price,’ and revenues will fall precipitously.”

ROA.18-19. Plaintiffs allege “that these reimbursement changes will cause

major revenue decreases for many of NICA’s members and that, as a result, a

substantial number of NICA’s members will have no choice but to scale back

operations, to reduce or eliminate the services they provide to Medicare

patients, or even to go out of business.” ROA.19.

      Although the 2026 price mandates apply only to Part D drugs, they will

also lower providers’ Part B reimbursements for selected drugs (including

Stelara®) that are administered under both Parts. See ROA.563-65. Part B

“providers generally are reimbursed by Medicare based on the average sales



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price of the drug.” ROA.18-19; ROA.562. For selected drugs that are

reimbursed under both Part D and Part B, the 2026 price mandates will lower

the “average sales price,” which is calculated using sales under both Parts. See

42 U.S.C. § 1395w-3a; 86 Fed. Reg. 64,996, 65,220 (2021). When the price

mandates take effect, amounts “paid to the provider [will] decrease[] in

absolute terms, and the provider [will be] financially harmed as a result.”

ROA.564. Thus, the average sales price of Stelara® will drop when the price

mandates take effect in 2026, and “the margins that NICA members earn with

respect to Stelara® will shrink in absolute terms.” ROA.564. “The upshot is

that NICA’s members will be affected by impending price negotiation …

regardless of whether they are reimbursed for Stelara ® under Part D or

Part B.” ROA.564.

      Finally, because the IRA impairs NICA members’ reimbursements, it

“is already impacting the ability of NICA’s members,” some of whom “are

currently courting private equity investments,” “to raise debt and equity

funding.” ROA.566 (emphasis added). This loss of business opportunity is

another concrete harm. See, e.g., El Paso Cnty. v. Trump, 408 F. Supp. 3d 840,

851 (W.D. Tex. 2019) (injury-in-fact exists “where the economic injury stems




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from the ‘loss of a non-illusory opportunity’ to obtain ‘a benefit’” (citation

omitted)).

      3.     Below, the government speculated that “it is possible that [a]

provider’s savings on drug-acquisition costs” under 42 U.S.C. § 1320f-2(a)(3)

“would outweigh any losses caused by” the IRA’s price mandates. ROA.450.

But the government’s speculation contradicts the Complaint’s detailed

allegations. See ROA.450. And even if drug-acquisition costs fall along with

reimbursement rates, the overall amount providers are paid will decrease in

absolute terms.

      Presumably, NICA knows better than the government how to represent

its own members’ interests. In any event, “standing analysis is not an

accounting exercise.” Texas v. United States, 809 F.3d 134, 156 (5th Cir. 2015).

“Once injury is shown, no attempt is made to ask whether the injury is

outweighed by benefits the plaintiff has enjoyed from the relationship with the

defendant.” Id. at 155-56 (citation omitted). In stock-manipulation cases, for

example, investors have standing without considering possible benefits from

the defendant’s price manipulation, because “the mere fact that an injury may

be outweighed by other benefits, while often sufficient to defeat a claim for

damages, does not negate standing.” In re Barclays Liquidity Cross & High



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Frequency Trading Litig., 390 F. Supp. 3d 432, 444 (S.D.N.Y. 2019); see

Alaska Elec. Pension Fund v. Bank of Am. Corp., 175 F. Supp. 3d 44, 53

(S.D.N.Y. 2016). NICA adequately alleges standing.

                             CONCLUSION

     This Court should reverse.




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Dated: April 12, 2024                   Respectfully submitted,

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     I hereby certify that on April 12, 2024, the foregoing document was

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copies were served on counsel of record by operation of the CM/ECF system

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